Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 1 of 6 Page ID
                                #:43560




                    EXHIBIT I
     Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 2 of 6 Page ID
                                     #:43561



 1    I,                                      , declare as follows:
 2
 3    1.    This declaration is based on my personal knowledge. If called to testify in this
 4    case, I would testify competently about these facts.
 5    2.    I am 17 years old. I am from Honduras.
 6    3.    I traveled to the United States with my cousin, but she was not able to enter. I
 7 crossed into the United States on or about March 29. I was detained by Immigration for
 8 four days. Then I was transferred to the Houston Emergency Intake Site.
 9 4.       I was detained at the Houston Emergency Intake Site for about 16 days.
10 5.       When I left the Immigration detention, they gave me a Covid test and it was
11 negative. When I arrived at the Houston Emergency Intake Site, they asked me if I had
12 any Covid symptoms and they tested me for Covid a few days later.
13 6.       While I was detained at the Houston Emergency Intake Site, I was allowed to use a
14 phone one time to call my family. I was only allowed to be on the phone for five minutes.
15 I called my aunt, and she is going to be my sponsor.
16 7.       There was nothing to do during the day. I spent all day on my cot because there
17 was nothing to do. A week after I arrived, some volunteers came, and they gave us
18 notebooks. The volunteers would bring games like Connect4 and would give us puzzles
19 and buy us candy sometimes.
20 8.       There were no classes the entire time I was there.
21 9.       We were not allowed to go outside the entire 16 days I was there.
22 10.      When I felt sad there was no one to talk to. Sometimes, I could talk to the
23 volunteers who were there once a day. They came either in the morning or in the
24 afternoon.
25 11.      I felt very sad while I was there. It was horrible being in there. I couldn’t be
26 outside and the only way I knew if it was morning or night was by looking out three
27 small windows. I didn’t feel safe while I was there.
28


                                                    1
     Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 3 of 6 Page ID
                                     #:43562



 1    12.   The food was horrible. There was chicken that was boiled and when we opened the
 2    chicken it was raw inside. They gave us sandwiches and sometimes the meat had
 3    ligaments in it and it was not cooked all the way. I couldn’t eat the food because it was
 4    too awful. I drank water and ate cookies instead.
 5    13.   They woke us up at 4am to brush our teeth so we could be ready for breakfast and
 6    then we would eat breakfast at 7am. We never left our cots except to get our food and
 7    then we brought our food to our cots to eat.
 8    14.   While I was at the Houston facility, I slept in a giant warehouse that was divided
 9    into sections by boxes. I think the boxes were full of plastic cutlery because that’s what
10    the picture on the boxes indicated. I slept on a cot. There were about 200 girls in my
11    section and there were other sections that more than 200 girls. I think there were 7
12    sections total. I couldn’t sleep at night because it was very loud. They turned the lights
13    off in parts of the warehouse but in some sections the lights were on. It seemed like they
14    turned the lights off in the corners of the warehouse and left them on in the middle. It was
15    very warm in the warehouse.
16    15.   We were allowed to shower every 3-4 days. They would sometimes tell us we
17    couldn’t shower because the pipes in the showers were damaged. I didn’t receive a clean
18    bra for ten days while I was at Houston and I had to wear the bra they gave me at
19    Immigration until it fell apart. They didn’t give us clean underwear and told us to turn our
20    underwear inside out. I got a vaginal infection while I was in Houston and it had to be
21    treated medically after I left. We had five minutes to shower and get dressed which was
22    not enough time.
23    16.   I was not allowed to use the bathroom whenever I needed to. I often had to wait a
24    long time to use the bathroom. There was only one restroom available for all 200 kids in
25    my section. When we asked to go to the bathroom, the workers told us to stop drinking
26    water and eating food, so we didn’t have to use the bathroom as much.
27    17.   I did not receive a list of free legal service providers. I did not talk to an attorney
28    while I was there.


                                                     2
     Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 4 of 6 Page ID
                                     #:43563



 1    18.   The workers were very short-tempered. They got mad because they thought the
 2    girls only wanted to be in the bathroom. Sometimes they would give us churros or baked
 3    goods, but they would never hand them to us, they would just throw them at us on our
 4    cots. I heard that other girls were told if they didn’t follow the rules they would be
 5    deported.
 6    19.   I was worried it was unsafe where we were. I heard that one of the girls was almost
 7    abducted by a lady dressed in black. The girl was able to escape but the people trying to
 8    abduct her said they would come back for her. It scared me and scared everyone.
 9    20.   Another night we heard a man yell, and then we heard a loud explosion. After that,
10    all the workers were on their walkie-talkies and running toward the section where the
11    explosive noise came from. There were then helicopters circling that were very loud. No
12    one ever talked to us about what was going on, no one ever explained why there were
13    helicopters. They just told us to lay down and not to move.
14    21.   There were three nights where lots of girls were fainting. I don’t know why they
15    were fainting, but several girls fainted three nights in a row at around 9pm each night.
16    22.   After I was at Houston for 16 days, I was moved to Carrizo Springs. One day a
17    woman came to us and said that we were leaving the next day. They did not explain why
18    we were leaving. Then, the next day, people questioned us about what our names are and
19    what countries we were from. They separated us into groups and gave us different
20    colored bracelets. Then we came to Carrizo Springs on a bus. We left in the evening and
21    we arrived at Carrizo Springs in the middle of the night.
22    23.   I was very happy to leave Houston because it had been 16 days since I had seen
23    outside – 16 days since I had seen the sky or the sun.
24    24.   I met with one case manager, on the computer, while I was in Houston. At Carrizo
25    Springs, I was told that all the paperwork has come through and I just need one document
26    from immigration then I can be reunited with my aunt.
27    25.   When I am reunited with my aunt, I want to take a course to learn English. I am
28    looking forward to going to school.


                                                    3
Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 5 of 6 Page ID
                                #:43564
Case 2:85-cv-04544-DMG-AGR Document 1136-9 Filed 06/21/21 Page 6 of 6 Page ID
                                #:43565
